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FIVE THINGS

ABOUT DETERRENCE

Deter would-be criminals by using scientific evidence about human behavior and
perceptions about the costs, risks and rewards of crime.

1. The certainty of being caught is a vastly more
powerful deterrent than the punishment.

Research shows clearly: If criminals think there’s only a slim chance

4. Increasing the severity of punishment does little
to deter crime.

Laws and policies designed to deter crime are ineffective partly

they will be caught, the severity of punishment — even draconian
punishment — is an ineffective deterrent to crime.

. Sending an offender to prison isn’t a very
effective way to deter crime.

Prisons are good for punishing criminals and keeping them off the
street, but prison sentences are unlikely to deter future crime. Prisons
actually may have the opposite effect: Inmates learn more effective
crime strategies from each other, and time spent in prison may
desensitize many to the threat of future imprisonment.

. Police deter crime by increasing the perception
that criminals will be caught and punished.

The police deter crime when they do things that strengthen a
criminal’s perception of the certainty of being caught. Strategies

because criminals know little about the sanctions for specific crimes.
Seeing a police officer with handcuffs and a radio is more likely to
influence a criminal’s behavior than passing a new law increasing
penalties.

. There is no proof that the death penalty deters

criminals.

According to the National Academy of Sciences, “Research on the
deterrent effect of capital punishment is uninformative about
whether capital punishment increases, decreases, or has no effect
on homicide rates.”

Source: Daniel Nagin, “Deterrence in the 21st Century,” in Crime
and Justice in America: 1975-2025 (ed. Michael Tonry, University of
Chicago Press, 2013).

that use the police as “sentinels,” such as hot spots policing, are
particularly effective.

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